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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ------------------------------------------------------X
  UNITED STATES OF AMERICA,
                                                                        MEMORANDUM & ORDER
          v.                                                            03-CR-1382 (NGG)

  BALDASSARE AMATO,
  STEPHEN LOCURTO, and
  ANTHONY BASILE,

                             Defendants.
  ---------------------------------------------------------X

  GARAUFIS, United States District Judge.

          This Memorandum and Order (“M&O”) shall address all unresolved and fully briefed

  motions pending before this court.

          First, the Government moves in limine to preclude (1) the cross-examination of FBI

  special agent Carrillo; (2) reference to notes made by Joseph Massino during trial preparation; (3)

  references to Massino’s cooperation agreement with the Government; (4) allegations about FBI

  special agent DeVecchio; (5) and references to defendant Locurto’s state court acquittal. The

  Government’s motion is granted in all respects.

          Next, the Government moves in limine to admit five specific acts allegedly committed by

  defendant Anthony Basile that it contends are admissible as direct evidence of the Bonanno

  racketeering conspiracy, and, alternatively pursuant to Federal Rule of Evidence 404(b).

  Specifically, the Government seeks to admit evidence of Basile’s involvement in (1) an

  attempted murder of Sal “Fat Sally” Mangiviallano; (2) felony-murder of an armoured truck

  driver; (3) murders committed with Thomas Pitera; (4) cocaine distribution; and (5) bookmaking.

  (Gov’t Mem. Supp. Mot. Admit, at 3-5.). For the reasons stated herein, I grant the Government’s


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  motion to admit evidence regarding the attempted murder of Sal “Fat Sally” Mangiviallano,

  murders committed with Thomas Pitera, cocaine distribution, and bookmaking, but deny the

  Government’s motion to admit evidence of Basile’s involvement in the felony-murder of an

  armoured truck driver.

         Defendant Baldasare Amato moves to preclude statements made to Salvatore Vitale by

  Joseph Massino regarding the DeFalco murder. I deny this motion, but grant leave to defendants

  to raise hearsay objections during the direct examination of Salvatore Vitale.

         Knowledge of the factual background of these motions is presumed.

  I.     GOVERNMENT’S MOTION IN LIMINE TO PRECLUDE

  A.     Cross-Examination of FBI Special Agent Carillo

         The Government moves to preclude cross-examination of FBI special agent Carrillo

  “regarding the specifics of murders as to which Carillo is not knowledgeable, on the grounds of

  lack of foundation.” (Gov’t Mem. Supp. Mot. Preclude (“Gov’t Mot. Preclude”), at 2.)

  Defendant Locurto objects to this motion (see Locurto Ltr. Br., dated May 25, 2006, at 1); Amato

  does not oppose this motion (see Amato Ltr. Br., dated May 25, 2006, at 1); defendant Basile has

  not responded to it. In the related case of United States v. Basciano, 03-Cr.-929 (E.D.N.Y.)

  (NGG), I found impermissible a line of cross-examination that sought to refresh FBI special

  agent Carillo regarding murders without providing the foundation that Carillo had knowledge of

  the murders. (Basciano Tr. at 2359; Gov’t Mot. Preclude, at 2-3.) The Federal Rules of

  Evidence require a foundation that the witness at one time “had knowledge of the fact as to

  which his recollection is to be refreshed” before the witness can have that recollection refreshed.

  United States v. Maldonado-Rivera, 922 F.2d 934, 976 (2d Cir. 1990) (internal citations


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  omitted); see also Fed. R. Evid. 612, 803(5). I adhere to this ruling, and will preclude the

  refreshing of Carillo on defense’s cross-examination without having laid a proper foundation.

  B.     Notes Made by Joseph Massino During Trial Preparation

         The Government has moved in limine to preclude reference to copies of F.B.I. 302 reports

  that have handwritten notes by Joseph Massino on them. (Gov’t Mot. Preclude, at 4-5). The

  Government argues that the notes are hearsay under Federal Rule of Evidence 802. (Id. at 4.)

  Both Amato and Locurto have expressed their intention to refrain from referring to such notes.

  (Amato Ltr. Br., dated May 25, 2006, at 1; Locurto Ltr. Br., dated May 25, 2006, at 2.)

         The Federal Rules of Evidence preclude the admission of out of court statements offered

  to prove the truth of the matter asserted. Fed. R. Evid. 801, 802. I find that Joseph Massino’s

  handwritten notes on F.B.I. 302 reports constitute such out of court statements are therefore

  precluded by Rules 801 and 802. The Government’s motion is granted.

  C.     Joseph Massino’s Cooperation Agreement with the Government

         The Government seeks to preclude reference to Joseph Massino’s cooperation with the

  Government. (Gov’t Mot. Preclude, at 5-6.) Amato and Locurto respond with their intention not

  to offer Joseph Massino’s cooperation agreement but reserving on the question of the fact of

  Massino’s cooperation (Amato Ltr. Br., dated May 25, 2006, at 1-2; LoCurto Ltr. Br., dated May

  25, 2006, at 2). Massino’s cooperation agreement is inadmissible hearsay if it is offered to prove

  the truth of the fact that Massino is a cooperating witness. (Federal Rule of Evidence 801 (d)(1);

  see also United States v. Cardascia, 915 F.2d 474, 487 (2d Cir. 1991) (holding a resignation letter

  to be inadmissible hearsay because, “[u]nlike a legally operative statement . . . [its] significance

  does not lie solely in the fact that it was made[, but rather] the letter was sought to be introduced


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  to prove the matter asserted, that is, Martolrelli resigned as assistant vice-president of the bank. .

  . .”). I note that I do not find any hearsay exceptions to be applicable.

         As to the fact of Massino’s cooperation, the parties have not offered any argument as to

  the cooperation’s relevance in this trial. I therefore grant the Government’s motion to preclude

  mention of the fact of Massino’s cooperation at trial under Federal Rule of Evidence 401.

  D.     Allegations Regarding FBI Special Agent DeVecchio

         The Government moves to preclude the defense from referencing the recent indictment of

  Lindley DeVecchio, former supervisor of the FBI’s Bonanno organized crime squad. (Gov’t

  Mot. Preclude, at 8.) DeVecchio was indicted by a Brooklyn state grand jury on charges relating

  to his alleged provision of confidential information to a member of the Colombia organized

  crime family. (Id.) Amato responds that it is not his intention to refer to any allegations against

  Special Agent DeVecchio. (Amato Ltr. Br., dated May 25, 2006, at 3.) Locurto responds that he

  “[w]ill [n]ot [i]ntend to [r]efer to [a]llegations [a]gainst [f]ormer F.B.I. Agent DelVechio (sic)

  [e]xcept to [n]ote [t]hat the [p]rosecution is being [b]rought by State [a]uthorities [n]ot the

  [o]ffice [w]ho [e]mbraced [h]is ‘[s]tyle’ of [i]nvestigation.” (Locurto Ltr. Br., at 2.)

         The court interprets Locurto’s notation to be for the purposes of this briefing, and not an

  explanation of his intention to refer to such facts in open court. The court finds that since

  DeVecchio is not a witness in this case and the allegations are not connected to his work with the

  F.B.I.’s Bonanno squad, any such reference would be irrelevant and inadmissible under Federal

  Rule of Evidence 401. I hereby grant the Government’s motion.

  E.     Defendant Locurto’s State Court Acquittal

         In 1986, Locurto was arrested and tried on state charges concerning the murder of Joseph


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  Platia. Locurto was acquitted of the murder charges at trial. The Platia murder is charged in the

  present indictment as a predicate act of the racketeering conspiracy charge, and the Government

  now moves to preclude reference at trial to Locurto’s prior state court acquittal. (Gov’t Mot.

  Preclude, at 9.)

         The court finds that evidence of Locurto’s acquittal is irrelevant in the instant case, and,

  in any event is inadmissible hearsay. The precedent of this circuit makes clear that evidence of a

  prior acquittal is relevant only to the question of whether the prosecution is barred by the double

  jeopardy or collateral estoppel doctrines. “But once it is determined that [double jeopardy and

  collateral estoppel bars] have been rejected, a judgment of acquittal is not usually admissible to

  rebut inferences that may be drawn from the evidence that was admitted.” United States v.

  Viserto, 596 F.2d 531, 537 (2d Cir. 1979); see also United States v. Gambino, 818 F. Supp. 536,

  539 (E.D.N.Y. 1993) (Glasser, J.). In the instant matter, it has already been decided that there is

  no double jeopardy or collateral estoppel bar to the Governement’s prosecution of the Platia

  murder. Thus, Viserto controls, and evidence of Locurto’s prior acquittal is inadmissible because

  it fails the relevancy requirement of Fed. R. Evid. 401.

         I note as well, that a judgment of acquittal is also hearsay evidence. Viserto, 596 F.2d at

  537 (“The Federal Rules of Evidence except from the operation of the hearsay rule only

  judgments of conviction, not judgments of acquittal.”) (citing Fed. R. Evid. 803(22)). And

  further, “even if such evidence had any evidentiary value, the danger it would present for

  confusion of the issues and misleading the jury substantially outweighs its probative worth.

  Gambino, 818 F. Supp. at 539.

         Therefore, for the above-mentioned reasons, the Government’s motion to preclude


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  references to Locurto’s prior state court acquittal on murder charges relating to the Platia murder

  is granted. I remind the Government that in its motion papers, it proffered that if the acquittal

  evidence is precluded, it would “not elicit certain evidence concerning the reasons for the state

  acquittal, including, among other evidence, (1) possible jury tampering and (2) perjury by

  defendant Locurto.” (Gov’t Mot. Preclude, at 10 n. 2.) The court expects that the Government

  will adhere to this proffer at trial.

  II.     GOVERNMENT’S MOTION IN LIMINE TO ADMIT ‘OTHER ACTS’

  A.      Standard of Review of ‘Other Act’ Evidence

          Evidence must be “relevant to some disputed issue in the trial.” See United States v.

  Figueroa, 618 F.2d 934, 939 (2d Cir. 1980). The first question that the court must address in

  considering the Government’s motion is whether the evidence meets the Rule 401 “threshold

  relevancy requirement” as direct evidence of the racketeering conspiracy. United States v.

  Quattrone, 441 F.3d 153, 185 (2d Cir. 2006). Count One of the Indictment, which charges Basile

  with racketeering conspiracy, requires the Government to prove (1) the existence of the Bonanno

  organized crime family (“OCF”); (2) that the Bonanno OCF enterprise was engaged in interstate

  commerce; (3) that Basile was associated with the enterprise; and (4) that Basile agreed to

  participate in the conduct of the affairs of the enterprise through a pattern of racketeering

  activities. (See Indictment (S-1) ¶¶ 1-32.) As a racketeering act of the charged conspiracy,

  Basile is alleged to have participated in the murder of Robert Perrino, and to have distributed

  marijuana with Fred Puglisi in the furtherance of the Bonanno OCF. (See id. ¶ 21, 25-27; Def’s

  Mem. Opp. Gov’t Mot. Admit, at 4.)

          Evidence of “other” acts in the furtherance of a criminal enterprise are relevant as direct


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  evidence of the existence of the charged racketeering conspiracy.1 United States v. Baez, 349

  F.3d 90, 93 (2d Cir. 2003); United States v. Concepcion, 983 F.2d 369, 392 (2d Cir. 1992);

  United States v. Towne, 870 F.2d 880, 886 (2d Cir. 1989) (“[E]vidence of uncharged criminal

  activity is not considered ‘other crimes’ evidence under Fed. R. Evid. 404(b) if it arose out of the

  same transaction or series of transactions as the charged offense, if it [is] inextricably intertwined

  with the evidence regarding the charged offense, or if it is necessary to complete the story of the

  crime [on] trial.”) (internal quotations and citation omitted).

         Even if not relevant as direct evidence, uncharged acts may be admissible pursuant to

  Rule 404(b). A court considering the admission of other act evidence under Rule 404(b) must

  follow a “well-established” three step process:

         First, the district court must determine if the evidence is offered for a proper
         purpose, one other than to prove the defendant's bad character or criminal
         propensity. If the evidence is offered for a proper purpose, the district court must
         next determine if the evidence is relevant to an issue in the case, and, if relevant,
         whether its probative value is substantially outweighed by the danger of unfair
         prejudice. Finally, upon request, the district court must give an appropriate
         limiting instruction to the jury.

  United States v. Pitre, 960 F.2d 1112, 1119 (2d Cir. 1992); see also Mickens, 926 F.2d at 1328.

  The Second Circuit has adopted an “inclusive” approach to Rule 404(b). United States v.

  Stevens, 83 F.3d 60, 68 (2d Cir. 1998). Evidence of other acts may be admitted for “any purpose

  except to show criminal propensity, unless the trial judge concludes that its probative value is

  substantially outweighed by its potential for unfair prejudice.” United States v Germosen, 139


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            Basile initially stipulated as to the existence of the Bonanno enterprise and his
  association with it for over a decade. (Basile Mem. Opp. Gov’t Mot., at 3, 7 & n.4.) See United
  States v. Pitre, 960 F.2d 1112, 1119 (2d Cir. 1992) (Where a defense does not contest an element
  of an offense, the Government may not use evidence to show that element.) However, Basile
  now withdraws that stipulation. (Basile Ltr. to the Court, dated May 22, 2006.)

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  F.3d 120, 127 (2d Cir. 1998) (internal quotation and citation omitted). A “non-exhaustive list of

  purposes for which other act or crime evidence may be admitted include[s] proof of motive,

  opportunity, intent, preparation, plan, knowledge, identity or absence of mistake or accident.”

  United States v. Levy, 731 F.2d 997, 1002 (2d Cir. 1984).

         This court must also decide whether the alleged act is admissible under Rule 403, i.e. that

  the probative weight of the evidence is not “substantially outweighed by the danger of unfair

  prejudice, confusion of the issues, or misleading the jury, or by considerations of undue delay,

  waste of time, or needless presentation of cumulative evidence.” Fed. R. Evid. 403. In a Rule

  403 analysis, the trial judge has “broad discretion to weigh the probative value of the evidence

  against the negative factors.” Jian An Li v. Canarozzi, 142 F.3d 83, 88 (2d Cir. 1998). If a

  district court concludes that the probative value of the evidence “could unduly inflame the

  passion of the jury, confuse the issues before the jury, or inappropriately lead the jury to convict

  on the basis of conduct not at issue in the trial,” the court may exclude the evidence under Rule

  403. Quattrone, 441 F.3d at 186.

         I shall consider in turn the admissibility of each of the five acts that the Government

  seeks to admit.

  B.     Relevance and Admissibility of “Other Act” Evidence

         1.         Attempted Murder of Sal “Fat Sally” Mangiviallano

         The Government alleges that in the late 1980's or early 1990's, Basile’s marijuana

  distribution co-conspirator Fred Puglisi suspected that his home was burglarized by Sal “Fat

  Sally” Mangiviallano, and solicited Basile and Robert Lino, Jr. to murder Mangiviallano. The

  Government alleges that Puglisi, Basile, and Robert Lino, Jr. discussed the conspiracy with Frank


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  Lino, and unsuccessfully shot at Mangiviallano at his place of business. (Gov’t Mem. Supp.

  Mot. Admit, at 3.) The Government argues that this act is part of the Bonnano conspiracy, as

  Puglisi, a Bonanno associate, enlisted other Bonanno members and associates to retaliate against

  Mangiviallano. Thus, according to the Government, this is strong evidence of and completes the

  story of Basile’s marijuana distribution with Puglisi as part of their association with the Bonanno

  family. (Id. at 13.)

         I find that this alleged act is relevant to show the existence of the Bonanno OCF, Basile’s

  association with the Bonanno OCF, and Basile’s relationship with Puglisi, and that it completes

  the story of Basile’s relationship with Puglisi in connection with the Bonanno OCF.

  Furthermore, to the extent that Frank Lino is offered as a witness, this act is relevant to

  corroborate his testimony. See United States v. Williams, 205 F.3d 23 (2d Cir. 2000); United

  States v. Everett, 825 F.2d 658, 660 (2d Cir. 1987) (other crimes evidence “has been consistently

  held admissible” to corroborate testimony of cooperating witnesses who testify of their own

  involvement in these crimes). Basile’s contention that this act is not probative of the

  Government’s argument that Basile’s marijuana dealings with Puglisi were Bonanno-related

  (Def’s Mem. Opp. Mot. Admit, at 3-4) is without merit, because the Government proffers that

  this alleged act was coordinated among other members of the Bonanno OCF. (Gov’t Mem.

  Supp. Mot. Admit, at 3.) Furthermore, as Basile alleges that “the marijuana conspiracy . . . [with

  Puglisi was] not in connection with the Bonanno organization,” (Def’s Mem. Opp. Mot. Admit,

  at 4), I find this evidence to be highly probative of whether Basile’s relationship with Puglisi was

  in the furtherance of the Bonanno OCF.

         I also do not find that the probative value of this evidence is substantially outweighed by


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unfair prejudice. The act in question is not likely to confuse or mislead the jury, as Basile is only

charged with one count of racketeering conspiracy, with three distinct racketeering acts, none of

which allege attempted murder. Further, I do not believe this evidence will inflame the jury’s

passions, because Basile is alleged to have participated in the Perrino murder. (See Gov’t Reply

Mem. Supp. Mot. Admit, at 3.) Accordingly, I find this evidence highly probative, and not

substantially outweighed by unfair prejudice to Basile.

       2.      Felony-Murder of Armoured Truck Driver

       Next, the Government proffers that on or around January 9, 1992, Basile reported to

Bonanno OCF crew leader Frank Lino his involvement in a failed armoured truck robbery in

which a truck employee was shot and killed. Basile allegedly asked Lino to find a safehouse for

the shooter. (Gov’t Mem. Supp. Mot. Admit, at 4.)

       I find that this evidence is of low probative value, and is substantially outweighed by

unfair prejudice to Basile. The Government urges that this evidence is relevant as direct

evidence to show Basile’s authority and trust within the Bonanno OCF before the Perrino

murder. (Gov’t Mem. Supp. Mot. Admit, at 12; Gov’t Reply Mem. Supp. Mot. Admit, at 4.) I

disagree. While this evidence shows that Basile trusted Lino sufficiently to disclose a felony-

murder, it is not probative of Lino’s trust of Basile, or Basile’s authority within Lino’s crew. As

this alleged act is not proffered to have been committed in the furtherance of the Bonanno OCF,

it is not direct evidence of the racketeering conspiracy, and I shall analyze this evidence under

Rule 404(b). Evidence that Basile would approach Lino for assistance in facilitating a felony

murder is probative of their relationship, and that Basile was associated with Lino in the

furtherance of criminal activity. This evidence therefore “completes the story” of the nature of


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Basile’s relationship with Lino. However, the probative value of this evidence is low, because

Lino is not alleged to have actually assisted Basile with this act.

        Moreover, the probative value of this evidence is substantially outweighed by the unfair

prejudice to Basile. This alleged act is confusing and potentially misleading to the jury, as it

involves the search for a “safe” location for the disposal of a murder victim, which is very similar

to Basile’s alleged role in the Perrino murder. Furthermore, admission of this evidence to show

Basile’s relationship with Lino would be cumulative, as the Government has a great deal of

evidence demonstrating this relationship. Lastly, this evidence is likely to inflame the jury

because it involves the serious charge of murder.

        I therefore find the alleged felony-murder of an armoured truck driver to be of low

probative value and substantially outweighed by the possibility of unfair prejudice to Basile.

        3.     Murders Committed with Thomas Pitera

        The Government next alleges that prior to placement in the Lino crew, Basile was

associated with Bonanno OCF soldier Thomas Pitera, who is serving several life sentences for

Bonanno-related murders, and that Basile participated in murders with Pitera. (Gov’t Mem.

Supp. Mot. Admit, at 4.) The Government urges that evidence of these murders is relevant to

show the existence of the racketeering conspiracy, Basile’s long-standing association in the

Bonanno family, and a trusted relationship regarding murder which pre-dates the Perrino murder.

(Id. at 12.)

        I find that this evidence is highly probative of the existence of the Bonanno OCF, that the

Bonanno OCF engaged in illegal activities, Basile’s association with the Bonanno OCF, and

Basile’s involvement in a pattern of racketeering activity in the furtherance of the Bonanno OCF.


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Furthermore, I find this evidence probative of Basile’s trust and authority within the Bonanno

OCF before the Perrino murder.

       Basile primarily disputes the admissibility of the evidence on hearsay grounds, arguing

that in order to admit a co-conspirator statement, the statement must be made “(a) during the

course of and (b) in furtherance of the conspiracy.” (Basile Sur-Reply Ltr. Br., at 1-2.) At this

time, I decline to address Basile’s potential hearsay objections to the proposed evidence because

the objections are premature. This court is not aware of the precise evidence sought to be

admitted, or the theories of admissibility. Basile further argues that it is not plausible that Basile

“as a teenager, could have been involved in such an extraordinary capacity.” (Basile Mem. Opp.

Mot. Admit, at 8; Basile Sur-Reply Ltr. Br., at 1-2.) While Basile obviously raised this issue to

dispute the reliability of this evidence, this point demonstrates the probative value of the

evidence: that Basile would be involved in murders on behalf of the Bonanno OCF at such a

young age is highly probative of whether he had a position of authority and trust within the

organization to be involved in the subsequent Perrino murder. This evidence is therefore highly

probative.

       In light of the high probative value of this evidence, its relevance is not substantially

outweighed by unfair prejudice. While the proffered evidence involves murder, a serious crime,

Basile is charged with a racketeering act of murder, and this “other act” evidence is therefore not

disproportional with the charged allegations. Also, these acts are not likely to confuse or mislead

the jury because they are distinct from the charged acts. Accordingly, I find this evidence to be

relevant and admissible under Rules 401 and 403.




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       4.      Cocaine Distribution

       The Government alleges that Basile sold cocaine in addition to marijuana in his

association with the Bonnano family, and distributed cocaine for recreational use at Bonanno

functions to “curry favor” with the Bonanno OCF. (Gov’t Mem. Supp. Mot. Admit, at 4.) The

Government argues that this “other act” evidence shows the existence of the Bonanno OCF,

Basile’s association with the Bonanno OCF “under the auspices of the Bonanno family captain

Frank Lino,” and his desire to gain higher standing within the organization. (Id. at 12.) I agree

with the Government that this evidence is relevant, direct evidence of the elements of the

racketeering conspiracy. This evidence is highly probative of the existence of the Bonanno OCF

enterprise, that it engaged in interstate commerce, and that Basile associated with the Bonanno

OCF through a pattern of illegal activities. Furthermore, evidence that Basile distributed cocaine

as a form of tribute to Bonanno OCF members shows his aspirations within the organization, and

will corroborate Frank Lino’s testimony.

       Basile responds that he was charged with cocaine distribution in 1992, and the charge was

dismissed. (Basile Mem. Opp. Gov’t Mot. Admit, at 9.) However, Basile’s argument seeks to

undermine the strength of the evidence offered by the Government, not the admissibility of the

evidence, or its relevance, and is thus meritless.

       I also find that the relevance of the proffered evidence is not substantially outweighed by

unfair prejudice. The likelihood that this evidence will confuse or mislead the jury is low,

because Basile is not charged with cocaine distribution. Furthermore, this alleged act is no more

serious than the acts that Basile is charged with committing. This evidence is therefore

admissible.


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        5.      Bookmaking

        Lastly, the Government alleges that Basile started a sports betting operation as a part of

Lino’s crew, which faltered after Basile had a conflict with a Genovese associate over a bet, a

conflict that was later “settled” between the two families. (Gov’t Mem. Supp. Mot. Admit, at 5.)

The Government argues that this act is relevant to show the existence of the enterprise, Basile’s

association with the enterprise “under the protection of Frank Lino,” and Basile’s valued

association with the enterprise. (Id. at 13.)

        I agree with the Government that this evidence is relevant as direct evidence to show the

existence of the enterprise, Basile’s association with the Bonanno OCF, and Basile’s

involvement in a pattern of racketeering activity in the furtherance of the enterprise. As stated

supra, to the extent that Frank Lino testifies to this act, it is relevant to corroborate his testimony.

The probative value of this evidence is not substantially outweighed by unfair prejudice, because

it alleges a crime that is no more serious than the ones charged in the indictment, and this

evidence is unlikely to confuse or mislead the jury because Basile is not charged with

bookmaking. I therefore find that this evidence is relevant and admissible under Rules 401 and

403.

III.    AMATO’S MOTION TO PRECLUDE MASSINO STATEMENTS TO VITALE

        Lastly, defendant Amato moves pursuant to Fed. R. Evid. 403 and 605, and the

Confrontation Clause to preclude reference to statements made by Joseph Massino to Salvatore

Vitale regarding the DiFalco murder, on the ground that the statements constitute “idle chatter”

and therefore fall outside the co-conspirator exception to the hearsay rule. (See Amato Ltr. Br.,

dated May 17, 2006, at 5 (citing United States v. Gigante, 166 F.3d 75, 82 (2d Cir. 1999).) The


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Government responds that this evidence is admissible because these co-conspirator statements

addressed the “progress or status” of the members’ activities. (Gov’t Reply Mem. Opp. Amato

Mot., at 11 (quoting United States v. Russo, 302 F.3d 37, 46 (2d Cir. 2002).)

       As a threshold issue, I find that this statement is relevant under Rule 401, because the

evidence is probative of the racketeering conspiracy, and Amato’s involvement in the DiFalco

murder. The probative value of this evidence is not substantially outweighed by unfair prejudice

to defendant Amato under Rule 403, because Amato is charged with the DiFalco murder, and

evidence regarding this charged racketeering act will not confuse or mislead the jury, or unduly

inflame the jury’s passions. To the extent that Amato’s motion argues otherwise, his motion is

denied. The statement is therefore admissible unless it is found to be inadmissible hearsay. To

the extent that Amato’s motion seeks to preclude this testimony on hearsay grounds, I deny this

motion as premature until the direct examination of Salvatore Vitale.




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IV.    CONCLUSION

       The Government’s motion in limine to preclude is GRANTED in all respects. The

Government’s motion in limine to admit evidence as to Basile is GRANTED in part

and DENIED in part. The Government is permitted to admit “other act” evidence of the

attempted murder of Sal “Fat Sally” Mangiviallano, murders committed with Thomas Pitera,

cocaine distribution, and bookmaking, but may not admit evidence of Basile’s involvement in the

felony-murder of an armoured truck driver. Finally, defendant Amato’s motion to preclude

testimony is DENIED.

SO ORDERED.


Dated: May 26, 2006                                _____/s/___________________
       Brooklyn, N.Y.                              Nicholas G. Garaufis
                                                   United States District Judge




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